Case 1:99-cV-01261-.]DB-tmp Document 97 Filed 07/08/05 Page 1 of 2 P§Q,Q|D 94

 

 

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UNI'I`ED STATES DISTRICT COURT `/?/f;" `§ von
WESTERN DISTRICT OF TENNESSEE.,\/ »-¢€§,`9 ""“”»
EASTERN DIVISION ,»_;;_:/.<~;’@/ -.;,
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.L 11/,,(`! . :/“\?_
‘FL>G:;’/
DANIEL SMITH, JUDGMEN'I` IN A CIVIL CAS
Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: 1:99-1261-B
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed with prejudice.

  
  

. NIEL BREEN
N ED STATES DISTRICT COURT

/ TI'WAS M. GOUL.
Clerk of Court

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(By) Deputy Clerk

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This notice confirms a copy of the document docketed as number 97 in
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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Honorable J. Breen
US DISTRICT COURT

